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                                                                                  United States District Court
                                                                                    Southern District of Texas

                                                                                       ENTERED
                                                                                   November 20, 2015
                            UNITED STATES DISTRICT COURT
                                                                                    David J. Bradley, Clerk
                             SOUTHERN DISTRICT OF TEXAS
                                 MCALLEN DIVISION

JON PIERRE GENDRON,                             §
                                                §
             Plaintiff,                         §
VS.                                             § CIVIL ACTION NO. 7:15-CV-066
                                                §
SAFECO INSURANCE COMPANY OF                     §
AMERICA, et al,                                 §
                                                §
             Defendants.                        §

                                            ORDER


           The Court now considers the “Stipulation of Dismissal,”1 filed by Plaintiff and

Defendants announcing to the Court that the parties stipulate to the dismissal of the case. The

stipulation is filed pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), which provides

for dismissal without a court order upon stipulation by all parties who have appeared. Since the

filing is signed by counsel for both Plaintiff and Defendants, the only parties in the case, the

parties have effectively dismissed the case and no order is necessary. Thus, the Clerk of the

Court is instructed to close the case.

           IT IS SO ORDERED.

           DONE at McAllen, Texas, this 20th day of November, 2015.


                                                ___________________________________
                                                Micaela Alvarez
                                                United States District Judge




1
    Dkt. No. 12.


1/1
